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                     EXHIBIT E


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                                 W. R. GRACE & CO. ET AL.
                                  VOTING PROCEDURES

       The following procedures (the “Voting Procedures”) govern the distribution of

solicitation materials with respect to the First Amended Joint Plan of Reorganization under

Chapter 11 of the Bankruptcy Code of W. R. Grace & Co., et al., the Official Committee of

Asbestos Personal Injury Claimants, the Asbestos PI Future Claimants’ Representative, and the

Official Committee of Equity Security Holders Dated February 27, 2009 (as it may be amended,

supplemented or modified, the “Plan”), the return of Ballots and Master Ballots for purposes of

voting to accept or reject the Plan, and the tabulation of such votes with respect to same.

       The Voting Procedures set forth in this document are supplemented by the instructions

accompanying the Ballots and Master Ballots that will be included in the Solicitation Packages.

Capitalized terms used herein shall have the meanings set forth in Section 13 hereof or, if not

defined herein, in the Plan.

1.     Publication Notice:

       a.      General Publication Notice: The Debtors will cause the Confirmation Hearing
               Notice (in a format modified for publication) to be published once in the
               following publications on a date not less than twenty-five (25) calendar days
               before the Plan Objection Deadline: the weekday edition of the national editions
               of USA Today, The Wall Street Journal, and The New York Times.

       b.      Additional Publication Notice: The Debtors will cause the Publication Notice to
               be published once in the following publications on a date not less than twenty-five
               (25) calendar days before the Plan Objection Deadline or as soon as possible
               thereafter: (a) Andrews’s Asbestos Litigation Reporter and Mealey’s Litigation
               Report: Asbestos, (b) the Sunday newspaper supplements Parade magazine and
               USA Weekend magazine, (c) Newsweek, TV Guide, Sports Illustrated and U.S.
               News and World Report, and (d) appropriate Canadian publications consistent
               with the Debtors’ previous noticing programs in Canada (or comparable
               publications, as determined by the Debtors’ notice consultant).




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2.       Distribution of Solicitation Packages - Generally:1

         a.       Determination of Holders of Record: Except as otherwise provided for herein,
                  appropriate Solicitation Packages will be served upon the Entity that holds a
                  Claim or Equity Interest entitled to vote as of the Voting Record Date, and the
                  Debtors will have no obligation to cause a Solicitation Package to be served upon
                  any subsequent Holder of such Claim (as may be evidenced by any notice of
                  assignment of such Claim entered on the Bankruptcy Court’s docket or that only
                  becomes effective after the Voting Record Date or otherwise) or Equity Interest.

         b.       Solicitation Date: On or before the date that is twenty-one (21) calendar days
                  following the date on which the Bankruptcy Court enters the Disclosure
                  Statement Order, the Voting Agent will cause Solicitation Packages to be
                  distributed to all known Holders of Claims and Equity Interests who are entitled
                  to vote pursuant to these Voting Procedures.

         c.       Claims Against Multiple Debtors: Holders of Claims that are eligible to vote
                  and that filed identical Claims against multiple Debtors shall be entitled to receive
                  only one Solicitation Package and one Ballot on account of such identical Claims.

         d.       Obtaining Additional Copies: Copies of the Plan, Disclosure Statement, Exhibit
                  Book, and the Disclosure Statement Order (with referenced exhibits) are available
                  on the Debtors’ website at www.grace.com and the website maintained by the
                  Voting Agent at www.bmcgroup.com/wrgrace. Parties in interest may also
                  request copies by (i) sending an email to wrgrace@bmcgroup.com, (ii) sending a
                  written request to the Voting Agent at: BMC Group, Inc., Attn: W. R. Grace
                  Voting Agent, P.O. Box 913, El Segundo, CA 90245-0913, or (iii) by calling the
                  Voting Agent at (888) 909-0100.

         e.       Exception for Undeliverable Addresses: Notwithstanding any provision in
                  these Voting Procedures to the contrary, the Voting Agent shall not be required to
                  mail a Solicitation Package to any Entity from which the notice of the Bankruptcy
                  Court hearing to approve the Disclosure Statement was returned as undeliverable
                  by the postal service, unless the Debtors or the Voting Agent are provided with an
                  accurate address for such Entity before the Voting Record Date.

         f.       Parties to Executory Contracts and Unexpired Leases: Each Entity that is
                  listed on the Debtors’ Schedules of Executory Contracts or is otherwise known to
                  be a party to an executory contract or an unexpired lease with a Debtor,
                  irrespective of whether, pursuant to section 365 of the Bankruptcy Code, such
                  contract or lease is, in fact, an “executory contract” or “unexpired lease,” will not
                  receive a Solicitation Package on account of the contract or lease, but shall be

1    See Sections 3, 4, 5, 6 and 7 of these Voting Procedures, which govern the manner in which Solicitation
     Packages are to be distributed with respect to Holders of Asbestos PI Claims, Holders of Equity Interests in the
     Parent, Holders of Asbestos PD Claims, Holders of CDN ZAI PD Claims, and Holders of General Unsecured
     Claims, respectively.


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           sent, on or before the Solicitation Date, a Confirmation Hearing Notice and a
           Notice to Counterparties to Executory Contracts and Unexpired Leases.

     g.    Form of Solicitation Materials: The Debtors, in their discretion, may distribute
           copies of the Plan, Disclosure Statement, and Exhibit Book in the Solicitation
           Packages in CD-ROM format rather than in paper format; provided, however, that
           all other materials in the Solicitation Packages, including all Ballots or Master
           Ballots, and all other notices to Holders of Claims or Equity Interests shall be
           provided in paper format. Additionally, any party may request and obtain at the
           Debtors’ expense a paper copy of any document sent in a Solicitation Package in
           CD-ROM format from the Voting Agent using the contact information listed in
           Section 2(d) above.

3.   Distribution of Solicitation Packages to, and Special Procedures for, Holders of
     Class 6 Asbestos PI Claims:

     a.    Distribution of Solicitation Packages. The Voting Agent will cause Solicitation
           Packages to be served with respect to Holders of Asbestos PI Claims as follows:

           i.     To Attorneys Representing Individual Holders of Asbestos PI Claims:

                  (A)    A single Solicitation Package will be served upon each attorney
                         known by the Debtors (based on the Debtors’ records and any list
                         of attorneys furnished to the Debtors on or before the entry of the
                         Disclosure Statement Order) to represent or potentially to represent
                         individuals who may hold or assert Asbestos PI Claims.
                         Solicitation Packages will not be served upon the individual
                         Holders of Asbestos PI Claims, except (I) where an individual
                         Holder of an Asbestos PI Claim requests a Solicitation Package
                         in accordance with these Voting Procedures, (II) where a proof
                         of claim with respect to an Asbestos PI Claim is signed and filed
                         by an individual Holder of an Asbestos PI Claim, rather than the
                         Holder’s attorney, prior to the Voting Record Date, or (III)
                         where an attorney timely advises the Voting Agent, pursuant to
                         Section 3(a)(i)(B) below, of the names and addresses of
                         individuals who hold or may assert Asbestos PI Claims who
                         should receive their own Solicitation Packages.

                  (B)    If an attorney who receives a Solicitation Package either (I) is
                         unable to certify with respect to any Holder of an Asbestos PI
                         Claim represented by such attorney that such attorney has the
                         authority to vote on the Plan on behalf of such Holder (see Section
                         3(c)(ii) below) or (II) wishes any Holder of an Asbestos PI Claim
                         represented by such attorney to cast his or her own Ballot on the
                         Plan, such attorney shall, no later than twenty-one (21) days after
                         the Solicitation Date, furnish the Voting Agent with the name,
                         address and last four digits of the social security number of each

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                   such Holder, together with any cover letter which said attorney
                   may wish to transmit to the Holders so designated, which the
                   Voting Agent shall include with the Solicitation Package to be
                   transmitted to said Holders.

            (C)    Attorneys who wish their clients to receive Solicitation Packages
                   for informational purposes (without a Ballot) must provide such
                   clients’ names, addresses, and the last four digits of their social
                   security numbers, together with a cover letter from such attorney to
                   be included with the Solicitation Packages, no later than twenty-
                   one (21) days after the Solicitation Date.

     ii.    To Individuals Who Hold or Assert Asbestos PI Claims:

            (A)    Transmittal by the Voting Agent. If either (I) an individual who
                   holds or asserts an Asbestos PI Claim requests a Solicitation
                   Package by written notice to the Voting Agent and provides a
                   mailing address therewith, or (II) an attorney who represents or
                   purports to represent the Holder of an Asbestos PI Claim furnishes
                   names and addresses of individuals in accordance with Section
                   3(a)(i)(B) hereof to the Voting Agent, then the Voting Agent will
                   cause a Solicitation Package to be mailed, together with a Ballot,
                   directly to each such individual who holds or asserts such Asbestos
                   PI Claim(s) within seven (7) days after receiving such request. In
                   addition, if an individual who holds or asserts an Asbestos PI
                   Claim signs and files (or has already filed) a proof of Asbestos PI
                   Claim prior to the Voting Record Date and is not known by the
                   Debtors to be represented by counsel who will receive a
                   Solicitation Package pursuant to Section 3(a)(i)(A) above, then the
                   Voting Agent will cause a Solicitation Package, together with an
                   appropriate Ballot, to be mailed directly to each such individual on
                   or before the Solicitation Date.

            (B)    Transmittal by an Attorney. An attorney may choose to transmit
                   Solicitation Packages to his or her clients directly. If an attorney
                   chooses to do so, such attorney must, no later than twenty-one (21)
                   days after the Solicitation Date, furnish a written request to the
                   Voting Agent for a specified amount of Solicitation Packages and
                   individual Ballots, which will be provided to such attorney within
                   seven (7) days after receipt of such written request. The Debtors
                   will reimburse such attorney for the actual postage incurred by the
                   attorney.     Attorneys seeking reimbursement shall submit
                   reasonable evidence of postage expenses incurred in order to
                   obtain such reimbursement.

     iii.   To Holders of Indirect PI Trust Claims: The Voting Agent will cause a
            Solicitation Package to be served upon each Holder of an Indirect PI Trust

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           Claim as identified by the Debtors based on their records and review of
           the Claims filed on or before the March 2003 Bar Date and the Schedules
           of Liabilities (the “Schedules”) filed by the Debtors with the Bankruptcy
           Court, provided that the Indirect PI Trust Claim has not yet been
           withdrawn, disallowed, or expunged by an order of the Bankruptcy Court
           entered on or before the Voting Record Date.

b.   Calculation of Votes With Respect to Asbestos PI Claims

     i.    Individual Holders of Asbestos PI Claims. Each Holder of an Asbestos
           PI Claim (other than an Indirect PI Trust Claim, discussed in Section
           3(b)(ii) below) will have a single vote on the Plan in an amount based
           upon the type of disease that forms the basis for such Holder’s asserted
           Asbestos PI Claim. The amount of an Asbestos PI Claim, to be used
           solely for purposes of voting to accept or reject the Plan, is as follows:

           (A)    If the basis for the Asbestos PI Claim is alleged to be
                  “MESOTHELIOMA” (Disease Level VIII) (according to the
                  criteria set forth in the TDP, which criteria will be described in the
                  instructions on the Ballot), then each Holder of an Asbestos PI
                  Claim of this type shall vote his or her Asbestos PI Claim in an
                  amount equal to the scheduled value for “Mesothelioma” in the
                  TDP (which scheduled value will be set forth in the instructions to
                  the Ballot). Claim amount for voting purposes only: $180,000.

           (B)    If the basis for the Asbestos PI Claim is alleged to be “LUNG
                  CANCER 1” (Disease Level VII) (according to the criteria set
                  forth in the TDP, which criteria will be described in the
                  instructions on the Ballot), then each Holder of an Asbestos PI
                  Claim of this type shall vote his or her Asbestos PI Claim in an
                  amount equal to the scheduled value for “Lung Cancer 1” in the
                  TDP (which scheduled value will be set forth in the instructions to
                  the Ballot). Claim amount for voting purposes only: $42,000.

           (C)    If the basis for the Asbestos PI Claim is alleged to be “LUNG
                  CANCER 2” (Disease Level VI) (according to the criteria set
                  forth in the TDP, which criteria will be described in the
                  instructions on the Ballot), then each Holder of an Asbestos PI
                  Claim of this type shall vote his or her Asbestos PI Claim in an
                  amount equal to the average value for “Lung Cancer 2” in the TDP
                  (which average value will be set forth in the instructions to the
                  Ballot). Claim amount for voting purposes only: $14,000.

           (D)    If the basis for the Asbestos PI Claim is alleged to be “OTHER
                  CANCER” (Disease Level V) (according to the criteria set forth
                  in the TDP, which criteria will be described in the instructions on
                  the Ballot), then each Holder of an Asbestos PI Claim of this type

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                 shall vote his or her Asbestos PI Claim in an amount equal to the
                 scheduled value for “Other Cancer” in the TDP (which scheduled
                 value will be set forth in the instructions to the Ballot). Claim
                 amount for voting purposes only: $20,000.

           (E)   If the basis for the Asbestos PI Claim is alleged to be “SEVERE
                 ASBESTOSIS” (Disease Level IV-A) (according to the criteria
                 set forth in the TDP, which criteria will be described in the
                 instructions on the Ballot), then each Holder of an Asbestos PI
                 Claim of this type shall vote his or her Asbestos PI Claim in an
                 amount equal to the scheduled value for “Severe Asbestosis” in the
                 TDP (which scheduled value will be set forth in the instructions to
                 the Ballot). Claim amount for voting purposes only: $50,000.

           (F)   If the basis for the Asbestos PI Claim is alleged to be “SEVERE
                 DISABLING PLEURAL DISEASE” (Disease Level IV-B)
                 (according to the criteria set forth in the TDP, which criteria will
                 be described in the instructions on the Ballot), then each Holder of
                 an Asbestos PI Claim of this type shall vote his or her Asbestos PI
                 Claim in an amount equal to the scheduled value for “Severe
                 Disabling Pleural Disease” in the TDP (which scheduled value will
                 be set forth in the instructions to the Ballot). Claim amount for
                 voting purposes only: $50,000.

           (G)   If the basis for the Asbestos PI Claim is alleged to be
                 “ASBESTOSIS/PLEURAL DISEASE” (Disease Level III)
                 (according to the criteria set forth in the TDP, which criteria will
                 be described in the instructions on the Ballot), then each Holder of
                 an Asbestos PI Claim of this type shall vote his or her Asbestos PI
                 Claim in an amount equal to the scheduled value for
                 “Asbestosis/Pleural Disease” in the TDP (which scheduled value
                 will be set forth in the instructions to the Ballot). Claim amount
                 for voting purposes only: $7,500.

           (H)   If the basis for the Asbestos PI Claim is alleged to be
                 “ASBESTOSIS/PLEURAL DISEASE” (Disease Level II)
                 (according to the criteria set forth in the TDP, which criteria will
                 be described in the instructions on the Ballot), then each Holder of
                 an Asbestos PI Claim of this type shall vote his or her Asbestos PI
                 Claim in an amount equal to the scheduled value for
                 “Asbestosis/Pleural Disease” in the TDP (which scheduled value
                 will be set forth in the instructions to the Ballot). Claim amount
                 for voting purposes only: $2,500.

           (I)   If the basis for the Asbestos PI Claim is alleged to be “OTHER
                 ASBESTOS DISEASE” (Disease Level I) (according to the
                 criteria set forth in the TDP, which criteria will be described in the

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                   instructions on the Ballot), then each Holder of an Asbestos PI
                   Claim of this type shall vote his or her Asbestos PI Claim in an
                   amount equal to the scheduled value for “Other Asbestos Disease”
                   in the TDP (which scheduled value will be set forth in the
                   instructions to the Ballot). Claim amount for voting purposes
                   only: $300.

            The designation of the disease level by the Holder of an Asbestos PI
            Claim or his or her attorney and the value assigned to the Holder’s
            claim will not be binding upon the Holder, the Debtors, the Asbestos PI
            Trust, or any other Entity for any purpose other than confirming the
            Plan.

            Only one (1) disease level may be selected for each Holder of an Asbestos
            PI Claim. In the event more than one (1) disease level is selected by or on
            behalf of a Holder of an Asbestos PI Claim, the Voting Agent shall count
            solely the selected disease level with the highest value for voting purposes.
            In the event a Ballot or Master Ballot fails to indicate the disease level of a
            Holder of an Asbestos PI Claim, the vote of the Holder of such Asbestos
            PI Claim shall be counted for voting purposes only in the amount of $1.00.

     ii.    Indirect PI Trust Claims. Each Holder of an Indirect PI Trust Claim that
            is unliquidated and/or contingent will have a single vote in the amount, for
            voting purposes only, of $1.00, which does not constitute an allowance of
            such Claim for purposes of distribution. However, if the Holder’s Claim
            has been allowed in a liquidated amount, the Holder shall be entitled to
            vote the allowed liquidated amount of such Claim. This provision is
            without prejudice to the rights of the Holders of such Claims or the
            Asbestos PI Trust in any other context.

     iii.   Required Certifications Regarding Compensable Claim. No vote for
            or against the Plan by or on behalf of a Holder of an Asbestos PI Claim
            (other than an Indirect PI Trust Claim) shall be counted by the Voting
            Agent unless the Ballot or Master Ballot reflecting such vote is submitted
            to the Voting Agent with written certifications, in the form contained on
            the Ballot and/or Master Ballot, which certifications shall be under penalty
            of perjury. Individual Ballots shall contain a certification that (A) the
            Holder of such Asbestos PI Claim has experienced exposure to an
            asbestos-containing material or product with respect to which the Debtors
            have legal liability, and (B) the Holder of such Asbestos PI Claim has the
            disease level asserted on such Holder’s Ballot, based on medical records
            or similar documentation in the possession of the party/parties specified on
            the Ballot. Master Ballots shall contain the certifications set forth in
            Section 3(c)(ii) below.

c.   Completion and Return of Master Ballots by Attorneys for Holders of
     Asbestos PI Claims. Attorneys who represent individual Holders of Asbestos PI

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     Claims shall be permitted to cast Ballots for such Holders, but only to the extent
     such attorneys have the authority under applicable bankruptcy or non-bankruptcy
     law to do so, and so certify in the manner set forth herein and on the Master
     Ballots respecting Asbestos PI Claims. Each attorney voting on behalf of the
     individuals he or she represents who hold or assert Asbestos PI Claims shall
     complete a Master Ballot, which will set forth the votes cast by such attorney on
     behalf of any such clients. The following procedures will govern the completion
     and return of a Master Ballot.

     i.     Summarizing Votes on the Master Ballot:

            (A)    The Master Ballot shall contain the following options for voting,
                   one of which shall be marked by the attorney:

                   (I)      “ALL of the individuals listed on the Exhibit
                            accompanying this Master Ballot, all of whom are Holders
                            of Class 6 Asbestos PI Claims, ACCEPT the Plan.”

                   (II)     “ALL of the individuals listed on the Exhibit
                            accompanying this Master Ballot, all of whom are Holders
                            of Class 6 Asbestos PI Claims, REJECT the Plan.”

                   (III)    “SOME of the individuals listed on the Exhibit
                            accompanying this Master Ballot, all of whom are Holders
                            of Class 6 Asbestos PI Claims, ACCEPT the Plan, while
                            other individuals on the Exhibit accompanying this Master
                            Ballot REJECT the Plan.”

            (B)    The attorney completing the Master Ballot also will have to
                   complete a summary of votes on the Plan for each disease level of
                   Asbestos PI Claims for which the attorney is voting on the Plan,
                   substantially in the form below:

                                  Votes Accepting      Votes Rejecting
               Disease Level         the Plan             the Plan         Total Votes
             Mesothelioma
             (Level VIII)
             Lung Cancer 1
             (Level VII)
             Lung Cancer 2
             (Level VI)
             Other Cancer
             (Level V)
             Severe Asbestosis
             (Level IV-A)
             Severe Disabling
             Pleural Disease

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              (Level IV-B)
              Asbestosis/Pleural
              Disease (Level
              III)
              Asbestosis/Pleural
              Disease (Level II)
              Other Asbestos
              Disease (Level I)
              Total Votes

      ii.    Certification by Attorney of Authority to Vote and Related Issues:

             (A)    The Master Ballot will contain certifications, which shall be under
                    penalty of perjury pursuant to 28 U.S.C. § 1746, to be completed
                    by the attorney preparing and signing the Master Ballot pursuant to
                    which such attorney will certify (I) that he or she has the authority
                    under applicable bankruptcy or non-bankruptcy law to cast a Ballot
                    on the Plan on behalf of the Holders of each of the Asbestos PI
                    Claims listed on the exhibit to the Master Ballot, and (II) that each
                    of the individuals set forth on the Exhibit to the Master Ballot has
                    the disease level asserted on the Exhibit based on medical records
                    or similar documentation and that the certifying attorney is
                    authorized to represent such disease level for such individual.

             (B)    If the attorney is unable to make such certifications on behalf of
                    any Holder of an Asbestos PI Claim whom he or she represents,
                    the attorney may not cast a vote on behalf of such claimant and
                    must timely send the information relating to the names and
                    addresses of its clients for whom he or she may not vote to the
                    Voting Agent in accordance with Section 3(a)(i)(B) of these
                    Voting Procedures.

      iii.   Summary Sheet Exhibit to the Master Ballot:

             (A)    Each attorney shall prepare an electronic list on a CD-ROM, which
                    list should be in Excel™ or a comparable application, as an Exhibit
                    to the Master Ballot. The Exhibit should include each of the
                    following fields (in the order listed): (I) the last four digits of the
                    Social Security number of the Claimant; (II) the last name of the
                    Claimant; (III) the first name of the Claimant; (IV) the street
                    address of the Claimant; (V) the town of residence of the Claimant;
                    (VI) the state of residence of the Claimant; (VII) the zip code of
                    the Claimant’s residence; (VIII) the disease level of the Claimant;
                    and (IX) whether the Claimant votes to accept or reject the Plan. A
                    sample template is set forth below and may also be downloaded in
                    Excel™ format from the Voting Agent’s website at
                    www.bmcgroup.com/wrgrace. If an attorney certifies that he/she

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                                    does not have access to Excel™ or a comparable application and
                                    represents fewer than 100 Holders of Asbestos PI Claims, then
                                    the attorney may provide the Exhibit in hard copy.

    Sample Exhibit

Last Four
 Digits of
Soc. Sec.                   First      Street                            Zip                          Accept or
   No.        Last Name     Name      Address      Town       State     Code      Disease Level        Reject
  1234            Smith      John    Any Street    Town       State     12345   VIII - Mesothelioma    Accept



                            (B)     In the event of any discrepancy between the information contained
                                    in a Master Ballot and the summary of votes, as required by
                                    Section 3(c)(i) hereof, and the information contained in the Exhibit
                                    to the Master Ballot described above, the Exhibit to the Master
                                    Ballot shall control.

                            (C)     The CD-ROM Exhibit required under Section 3(c)(iii)(A) above
                                    must be enclosed with the Master Ballot, and the completed Master
                                    Ballot and Exhibit must be returned to the Voting Agent in
                                    accordance with Sections 9(d) and (e) of these Voting Procedures.

    4.       Distribution of Solicitation Packages to Holders of Class 10 Parent Common Stock.

             a.      Equity Interests: Except as otherwise provided herein, the following procedures
                     shall apply to solicitation with respect to the Holders of Parent Common Stock:

                     i.     List of Record Holders: Pursuant to Bankruptcy Rules 1007(i) and
                            3017(e), within three (3) business days after the Voting Record Date, the
                            Transfer Agent shall provide to the Voting Agent (A) a copy of the list of
                            the names, addresses, and holdings of the Holders of Parent Stock as of
                            the Voting Record Date in an electronic file, and (B) such other
                            information as the Voting Agent deems reasonable and necessary to
                            perform its duties hereunder. The Voting Agent shall use such list and
                            other information only for purposes consistent with these Voting
                            Procedures.

                     ii.    Determination of Number of Beneficial Owners:                  As soon as
                            practicable after the entry of the Disclosure Statement Order, the Voting
                            Agent shall attempt to contact the institutional Holders of record of Parent
                            Common Stock or their agent to ascertain the number of beneficial owners
                            of such Parent Common Stock holding through such Nominees.

                     iii.   Distribution to Record Holders Other than Nominees: The Voting
                            Agent will cause a Solicitation Package to be served upon each registered

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            record Holder (other than Nominees), as of the Voting Record Date, of
            any Parent Common Stock.

      iv.   Distribution to Nominees: For Parent Common Stock, the Voting Agent
            will cause Solicitation Packages to be served upon each Nominee in
            sufficient numbers estimated to allow dissemination of Solicitation
            Packages to each of the beneficial owners of Parent Common Stock for
            which it serves with instructions to each Nominee to contact the Voting
            Agent for additional sets of Solicitation Packages, if necessary, and
            promptly (within five (5) business days after receipt of the Solicitation
            Packages) distribute the Solicitation Packages to the beneficial owners for
            which it serves. Upon request by a Nominee, the Voting Agent shall send
            any such Entity a Solicitation Package.

            (A)     Nominees’ Options for Obtaining Votes: Nominees shall have
                    two options for obtaining votes of beneficial owners of Parent
                    Common Stock, consistent with customary practices for obtaining
                    votes of securities held in street name.

                    (I)    The Nominee may “prevalidate” the individual Ballot
                           contained in the Solicitation Package and send it to the
                           beneficial owner of Parent Common Stock for voting
                           within five (5) business days after the receipt by such
                           Nominee of the Solicitation Package. The beneficial owner
                           shall then complete and return the “prevalidated” individual
                           Ballot directly to the Voting Agent in the return envelope to
                           be provided in the Solicitation Package. A Nominee
                           “prevalidates” a beneficial owner’s Ballot by completing
                           and executing the beneficial owner’s Ballot (except items 2
                           and 3) in accordance with the instructions provided and by
                           indicating thereon the name of the beneficial owner, the
                           Nominee’s name and DTC Participant No., the amount of
                           Parent Common Stock held by the Nominee on behalf of
                           the beneficial owner, and the appropriate account numbers
                           through which the beneficial owner’s holdings are derived;
                           or

                    (II)   The Nominee may forward the Solicitation Package to the
                           beneficial owner of the Parent Common Stock for voting
                           along with a return envelope provided by and addressed to
                           the Nominee. The beneficial owner shall then complete
                           and return the individual Ballot to the Nominee. In such
                           case, the Nominee shall summarize the votes of its
                           respective beneficial owners on a Master Ballot, which
                           shall be provided to the Nominee separately by the Voting
                           Agent, in accordance with any instructions set forth in the
                           instructions to the Master Ballot, and then return the Master

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                                Ballot to the Voting Agent. The Nominee shall advise the
                                beneficial owners to return their individual Ballots to the
                                Nominee by a date calculated by the Nominee to allow it
                                to prepare and return the Master Ballot to the Voting
                                Agent so that the Master Ballot is ACTUALLY
                                RECEIVED by the Voting Agent by the Voting Deadline.

                  (B)    Reimbursement of Expenses: The Debtors may, upon written
                         request, and without application to or Order of the Bankruptcy
                         Court, reimburse the Transfer Agent, Nominees, or any of their
                         agents, for reasonable, actual, and necessary out-of-pocket
                         expenses incurred in performing the tasks described above.

5.   Distribution of Solicitation Packages to, and Special Procedures for, Class 7
     Asbestos PD Claims:

     a.    Distribution of Solicitation Packages: The Voting Agent will cause Solicitation
           Packages to be served with respect to Holders of Class 7 Asbestos PD Claims as
           follows:

           i.     Class 7A Asbestos PD Claims: Except as otherwise provided for in
                  Section 5(b) below, the Voting Agent will cause a Solicitation Package to
                  be served upon each Holder of a Class 7A Asbestos PD Claim (including
                  Indirect PD Trust Claims) who has filed a proof of such claim with the
                  Bankruptcy Court on or before the March 2003 Bar Date, which has not
                  been withdrawn by the Holder or disallowed or expunged by order of the
                  Bankruptcy Court entered on or before the Voting Record Date. The
                  Voting Agent will cause a Notice of Non-Voting Claim Status to be served
                  upon Holders of Class 7A Asbestos PD Claims that were not timely filed
                  on or before the March 2003 Bar Date unless such claims have already
                  been expunged or disallowed by order of the Bankruptcy Court entered on
                  or before the Voting Record Date.

           ii.    Class 7B Asbestos PD Claims: Except as otherwise provided for in
                  Section 5(b) below, the Voting Agent will cause a Solicitation Package to
                  be served upon (A) each Holder of a Class 7B Asbestos PD Claim who
                  has filed a proof of such claim with the Bankruptcy Court on or before the
                  US ZAI Bar Date, which has not been withdrawn by the Holder or
                  disallowed or expunged by order of the Bankruptcy Court entered on or
                  before the Voting Record Date, and (B) the US ZAI Class Representatives
                  (through service upon US ZAI Class Counsel). The Voting Agent will
                  cause a Notice of Non-Voting Claim Status to be served upon Holders of
                  Class 7B Asbestos PD Claims that were not timely filed on or before the
                  US ZAI Bar Date unless such claims have already been expunged or
                  disallowed by order of the Bankruptcy Court entered on or before the
                  Voting Record Date.


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b.    Distribution of Master Ballots to Attorneys Representing Individual Holders
      of Class 7 Asbestos PD Claims: A single Solicitation Package with a Master
      Ballot for Class 7A Asbestos PD Claims or Class 7B Asbestos PD Claims will be
      served upon each attorney known by the Debtors (based on the proofs of claim
      filed by the March 2003 Bar Date or the US ZAI Bar Date) to represent multiple
      Holders of Class 7A Asbestos PD Claims or Class 7B Asbestos PD Claims. If an
      attorney is known to represent multiple Holders of both Class 7A Asbestos PD
      Claims and Class 7B Asbestos PD Claims, the attorney shall receive a Master
      Ballot for each subclass. Solicitation Packages will not be served upon the
      Holders of Class 7 Asbestos PD Claims, except (i) where a Holder of a Class 7
      Asbestos PD Claim requests a Solicitation Package in accordance with these
      Voting Procedures, (ii) where a proof of claim with respect to a Class 7 Asbestos
      PD Claim is signed and filed by the Holder, rather than the Holder’s attorney,
      prior to the March 2003 Bar Date or the US ZAI Bar Date, as applicable, or
      (iii) where an attorney timely advises the Voting Agent, pursuant to Section
      5(b)(i) below, of the names and addresses of individuals who hold Class 7
      Asbestos PD Claims who should receive their own Solicitation Packages.

      i.     If an attorney who receives a Solicitation Package either (A) is unable to
             certify with respect to any Holder of a Class 7 Asbestos PD Claim
             represented by such attorney that such attorney has the authority to vote on
             the Plan on behalf of such Holder (see Section 5(c)(ii) below) or (B)
             wishes any Holder of a Class 7 Asbestos PD Claim represented by such
             attorney to cast his or her own Ballot on the Plan, such attorney shall, no
             later than twenty-one (21) days after the Solicitation Date, furnish the
             Voting Agent with the name, address, and copy of the proof of claim filed
             by or on behalf of such Holder, together with any cover letter which said
             attorney may wish to transmit to the Holders so designated, which the
             Voting Agent shall include with the Solicitation Package to be transmitted
             to said Holders.

      ii.    Attorneys who wish their clients to receive Solicitation Packages for
             informational purposes (without a Ballot) must provide such clients’
             names, addresses, and the last four digits of their social security numbers
             or tax identification numbers, together with a cover letter from such
             attorney to be included with the Solicitation Packages, no later than
             twenty-one (21) days after the Solicitation Date.

c.    Distribution of Ballots to Individual Holders of Class 7 Asbestos PD Claims:

      i.     Transmittal by the Voting Agent. If an attorney who represents the
             Holder of a Class 7 Asbestos PD Claim furnishes the names and addresses
             of individuals or entities in accordance with Section 5(b)(i) hereof to the
             Voting Agent, then the Voting Agent will cause a Solicitation Package to
             be mailed, together with a Ballot, directly to each such individual or entity
             who holds or asserts such Asbestos PD Claim(s) within seven (7) days
             after receiving such request.

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      ii.    Transmittal by an Attorney. An attorney may choose to transmit
             Solicitation Packages to his or her clients directly. If an attorney chooses
             to do so, such attorney must, no later than twenty-one (21) days after the
             Solicitation Date, furnish a written request to the Voting Agent for a
             specified amount of Solicitation Packages and individual Ballots, which
             will be provided to such attorney within seven (7) days after receipt of
             such written request. The Debtors will reimburse such attorney for the
             actual postage incurred by the attorney. Attorneys seeking reimbursement
             shall submit reasonable evidence of postage expenses incurred in order to
             obtain such reimbursement.

d.    Completion and Return of Master Ballots by Attorneys for Holders of Class
      7 Asbestos PD Claims. Attorneys who represent and have filed proofs of claims
      for multiple Holders of Class 7 Asbestos PD Claims shall be permitted to cast
      Ballots for such Holders, but only to the extent such attorneys have the authority
      under applicable bankruptcy or non-bankruptcy law to do so, and so certify in the
      manner set forth herein and on the Master Ballots respecting such claims. Each
      attorney voting on behalf of the individuals or entities he or she represents who
      have filed Class 7 Asbestos PD Claims shall complete a Master Ballot, which will
      set forth the votes cast by such attorney on behalf of any such clients. The
      following procedures will govern the completion and return of a Master Ballot:

      i.     Summarizing Votes on the Class 7A Master Ballot:

             (A)    The Master Ballot for Class 7A Asbestos PD Claims shall contain
                    the following options for voting, one of which shall be marked by
                    the attorney:

                    (I)     “ALL of the individuals or entities listed on the Exhibit
                            accompanying this Master Ballot, all of whom are Holders
                            of Class 7A Asbestos PD Claims, ACCEPT the Plan.”

                    (II)    “ALL of the individuals or entities listed on the Exhibit
                            accompanying this Master Ballot, all of whom are Holders
                            of Class 7A Asbestos PD Claims, REJECT the Plan.”

                    (III)   “SOME of the individuals or entities listed on the Exhibit
                            accompanying this Master Ballot, all of whom are Holders
                            of Class 7A Asbestos PD Claims, ACCEPT the Plan,
                            while other individuals or entities on the Exhibit
                            accompanying this Master Ballot REJECT the Plan.”

             (B)    The attorney completing the Master Ballot also will have to
                    complete a summary of votes on the Plan for the Holders of Class
                    7A Asbestos PD Claims for which the attorney is voting on the
                    Plan. The summary shall state as follows:



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      Holders of Class 7A Asbestos PD           Holders of Class 7A Asbestos PD
      Claims Voting to Accept the Plan          Claims Voting to Reject the Plan



      ii.    Summarizing Votes on the Class 7B Master Ballot:

             (A)    The Master Ballot for Class 7B Asbestos PD Claims shall contain
                    the following options for voting, one of which shall be marked by
                    the attorney:

                    (I)     “ALL of the individuals or entities listed on the Exhibit
                            accompanying this Master Ballot, all of whom are Holders
                            of Class 7B Asbestos PD Claims, ACCEPT the Plan.”

                    (II)    “ALL of the individuals or entities listed on the Exhibit
                            accompanying this Master Ballot, all of whom are Holders
                            of Class 7B Asbestos PD Claims, REJECT the Plan.”

                    (III)   “SOME of the individuals or entities listed on the Exhibit
                            accompanying this Master Ballot, all of whom are Holders
                            of Class 7B Asbestos PD Claims, ACCEPT the Plan, while
                            other individuals or entities on the Exhibit accompanying
                            this Master Ballot REJECT the Plan.”

             (B)    The attorney completing the Master Ballot also will have to
                    complete a summary of votes on the Plan for the Holders of Class
                    7B Asbestos PD Claims for which the attorney is voting on the
                    Plan. The summary shall state as follows:

      Holders of Class 7B Asbestos PD           Holders of Class 7B Asbestos PD
      Claims Voting to Accept the Plan          Claims Voting to Reject the Plan



      iii.   Certification by Attorney of Authority to Vote and Related Issues:

             (A)    The Master Ballot will contain certifications, which shall be under
                    penalty of perjury pursuant to 28 U.S.C. § 1746, to be completed
                    by the attorney preparing and signing the Master Ballot pursuant to
                    which such attorney will certify that he or she has the authority
                    under applicable bankruptcy or non-bankruptcy law to cast a Ballot
                    on the Plan on behalf of the Holders of each of the Class 7A
                    Asbestos PD Claims or Class 7B Asbestos PD Claims listed on the
                    exhibit to the Master Ballot.



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                         (B)     If the attorney is unable to make such certification on behalf of any
                                 Holder of a Class 7A Asbestos PD Claim or Class 7B Asbestos PD
                                 Claim whom he or she represents, the attorney may not cast a vote
                                 on behalf of such claimant and must timely send the information
                                 relating to the names and addresses of its clients for whom he or
                                 she may not vote to the Voting Agent in accordance with Section
                                 5(b)(i)(A) of these Voting Procedures.

              iv.        Summary Sheet Exhibit to the Master Ballot:

                         (A)     Each attorney shall prepare an electronic list on a CD-ROM, which
                                 list should be in Excel™ or a comparable application, as an Exhibit
                                 to the Master Ballot. The Exhibit should include each of the
                                 following fields (in the order listed): (I) the proof of claim number
                                 of each Claimant’s claim (to be completed by the Voting Agent);
                                 (II) the last name of the Claimant; (III) the first name of the
                                 Claimant; (IV) the street address of the Claimant; (V) the town of
                                 residence of the Claimant; (VI) the state of residence of the
                                 Claimant; (VII) the zip code of the Claimant’s residence; and
                                 (VIII) whether the Claimant votes to accept or reject the Plan. A
                                 sample template is set forth below and may also be downloaded in
                                 Excel™ format from the Voting Agent’s website at
                                 www.bmcgroup.com/wrgrace. If an attorney certifies that he/she
                                 does not have access to Excel™ or a comparable application and
                                 represents fewer than 100 Holders of Asbestos PD Claims, then
                                 the attorney may provide the Exhibit in hard copy.

Sample Exhibit

  Proof of                                                                         Accept
   Claim                       First       Street                            Zip     or
    No.      Last Name         Name       Address          Town   State     Code   Reject
    1234         Smith         John      Any Street        Town   State    12345    Accept


                         (B)     In the event of any discrepancy between the information contained
                                 in a Master Ballot and the summary of votes, as required by
                                 Section 5(c)(i) hereof, and the information contained in the Exhibit
                                 to the Master Ballot described above, the Exhibit to the Master
                                 Ballot shall control.

                         (C)     The CD-ROM Exhibit required under Section 5(d)(iv)(A) above
                                 must be enclosed with the Master Ballot, and the completed Master
                                 Ballot and Exhibit must be returned to the Voting Agent in
                                 accordance with Sections 9(d) and (e) of these Voting Procedures.




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6.   Distribution of Solicitation Packages for Holders of Class 8 Canadian ZAI PD
     Claims:

     a.    Under applicable Canadian law, the CCAA Representative Counsel has been
           empowered and authorized to vote to accept or reject the Plan on behalf of the
           Class 8 CDN ZAI PD Claims in accordance with the Minutes of Settlement of
           Canadian ZAI Claims. Accordingly, the Voting Agent will cause a Solicitation
           Package to be served only upon the CCAA Representative Counsel.

7.   Distribution of Solicitation Packages to Holders of Class 9 General Unsecured
     Claims (Provisional Vote):

     a.    Scheduled Claims: Except as otherwise provided herein, the Voting Agent will
           cause a Solicitation Package to be served upon each Holder of a General
           Unsecured Claim against the Debtors that is listed in the Schedules as of the
           Voting Record Date with a Claim in excess of $0.00 other than Claims designated
           in the Schedules as contingent, unliquidated, and/or disputed; provided, however,
           that each Holder of a General Unsecured Claim that is otherwise entitled to
           receive a Solicitation Package pursuant to this Section and is also entitled to
           receive a Solicitation Package pursuant to Section 7(b) below shall be entitled to
           receive only one Solicitation Package.

     b.    Filed Claims: Except as otherwise provided herein, the Voting Agent will cause
           a Solicitation Package to be served upon each Holder of a General Unsecured
           Claim that is represented by a proof of claim filed against the Debtors that (i) has
           not been withdrawn, disallowed, or expunged by an order of the Bankruptcy
           Court entered on or before the Voting Record Date and (ii) is not the subject of a
           pending objection as of the Voting Record Date. If the Debtors determine that a
           proof of claim filed against the Debtors is not a Class 9 General Unsecured Claim,
           then the Debtors shall not be required to serve a Solicitation Package to the
           Holder of such Claim, unless the Holder of such Claim is otherwise entitled to
           receive a Solicitation Package under these Voting Procedures, and instead shall
           serve upon the Claimant a Confirmation Hearing Notice and a Notice of Non-
           Voting Class Status. The Voting Agent will send to Holders of General
           Unsecured Claims that are subject to a pending objection as of the Voting Record
           Date a Confirmation Hearing Notice and a Notice of Non-Voting Claim Status.

     c.    Bank Claims: The Administrative Agent shall make the register of Lenders
           maintained pursuant to each of the Pre-petition Credit Facilities available to the
           Voting Agent as an agent of the Debtors. Following receipt of the register of
           Lenders, the Voting Agent will cause a Solicitation Package (including an
           appropriate Ballot) to be served upon each Lender holding a General Unsecured
           Claim arising from the Pre-petition Credit Facilities as of the Voting Record Date.




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8.   Distribution of Solicitation Packages to Other Parties:

     a.     The Voting Agent will cause a Solicitation Package to be served upon (i) the
            Securities and Exchange Commission, (ii) the Office of the United States Trustee
            for the District of Delaware, (iii) the Internal Revenue Service, (iv) the attorneys
            for each official committee appointed in the Debtors’ chapter 11 cases, (v) the
            attorneys for the Asbestos PI Future Claimants’ Representative, (vi) the attorneys
            for the Asbestos PD Future Claimants’ Representative, (vii) the attorneys for the
            agent for the Debtors’ pre-petition bank lenders, (viii) the attorneys for the agent
            for the Debtors’ postpetition bank lenders, and (ix) each party that filed a notice
            of appearance with the Bankruptcy Court pursuant to Federal Rule of Bankruptcy
            Procedure 2002.

9.   Return of Ballots:

     a.     Claimants that Are Entitled to Vote:

            i.     Each Holder of an Asbestos PI Claim (other than an Indirect PI Trust
                   Claim) is entitled to vote to accept or reject the Plan.

            ii.    Each Holder of an Indirect PI Trust Claim that has not been disallowed or
                   expunged by order of the Bankruptcy Court entered on or before the
                   Record Date is entitled to vote to accept or reject the Plan. With respect to
                   any Indirect PI Trust Claim that has been transferred after the applicable
                   proof of claim has been filed, the transferee shall be entitled to receive a
                   Solicitation Package and cast a Ballot on account of such Indirect PI Trust
                   Claim only if (X) all actions necessary to the transfer of the Indirect PI
                   Trust Claim pursuant to Bankruptcy Rule 3001(e) have been completed by
                   the Voting Record Date or (Y) the transferee files by the Voting Record
                   Date (I) the documentation required by Bankruptcy Rule 3001(e) to
                   evidence the transfer and (II) a sworn statement of the transferor
                   supporting the validity of the transfer.

            iii.   Each Holder of an Asbestos PD Claim is entitled to vote to accept or reject
                   the Plan as follows:

                   (A)     Class 7A Asbestos PD Claims: Each Holder of a Class 7A
                           Asbestos PD Claim that is being solicited pursuant to these Voting
                           Procedures is entitled to vote to accept or reject the Plan solely to
                           the extent required by section 524(g) of the Bankruptcy Code.

                   (B)     Class 7B Asbestos PD Claims:

                           (I)    Each Holder of a Class 7B Asbestos PD Claim who timely
                                  filed a proof of its claim on or before the US ZAI Bar Date
                                  that has not been withdrawn, expunged, or disallowed by
                                  order of the Court as of the Voting Record Date is entitled


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                             to vote to accept or reject the Plan under both sections
                             524(g) and 1126(c) of the Bankruptcy Code.

                     (II)    The US ZAI Class Representatives are entitled to vote to
                             accept or reject the Plan for purposes of both sections
                             524(g) and 1126(c) of the Bankruptcy Code on behalf of
                             each Holder of a Class 7B Asbestos PD Claim in the US
                             ZAI Rule 23 Class who does not individually vote to accept
                             or reject the Plan.

      iv.    The CCAA Representative Counsel shall be entitled to vote to accept or
             reject the Plan on behalf of all Holders of Canadian ZAI PD Claims in the
             manner and to the extent provided in the Minutes of Settlement of
             Canadian ZAI Claims and the Canadian Settlement Approval Order.

      v.     Each Holder of a General Unsecured Claim that is being solicited pursuant
             to these Voting Procedures shall be entitled to vote to accept or reject the
             Plan on a provisional basis. Such votes will be given effect only if it is
             determined that Class 9 is an impaired Class under section 1124 of the
             Bankruptcy Code. If it is determined that Class 9 is unimpaired, then
             Class 9 will be deemed to accept the Plan and any and all Ballots cast by
             Holders of General Unsecured Claims will be disregarded for all purposes.

b.    Equity Interests that Are Entitled to Vote: Each Holder of Parent Common
      Stock as of the Voting Record Date is entitled to vote to accept or reject the Plan.

c.    Authority to Complete and Execute Ballots: If a Ballot or Master Ballot is
      signed by a trustee, executor, administrator, guardian, attorney-in-fact, officer of a
      corporation, or any other Entity acting in a fiduciary or representative capacity,
      such person must indicate such capacity when signing. The authority of the
      signatory of each Ballot or Master Ballot to complete and execute the Ballot or
      Master Ballot shall be presumed, but each such signatory shall certify under
      penalty of perjury, by executing the Ballot or Master Ballot, that he or she has
      such authority and shall provide evidence of such authority upon request of the
      Voting Agent.

d.    Place to Send Completed Ballots and Master Ballots:

      i.     Voting Agent: All Ballots and Master Ballots should be returned by mail,
             hand-delivery or overnight courier to the Voting Agent as follows:

             By U.S. Mail:                            By Courier:

             BMC Group, Inc.                          BMC Group, Inc.
             Attn: W. R. Grace Voting Agent           Attn: W. R. Grace Voting Agent
             P.O. Box 2007                            18750 Lake Drive East
             Chanhassen, MN 55317-2007                Chanhassen, MN 55317


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      e.    Deadline for Receiving Completed Ballots and Master Ballots:

            i.     All Ballots and Master Ballots must be actually received by the Voting
                   Agent by the Voting Deadline. The Voting Agent will NOT accept
                   Ballots or Master Ballots submitted by facsimile or electronic
                   transmission. If any Ballot or Master Ballot is received by the Voting
                   Agent after the Voting Deadline, the vote(s) recorded on that Ballot or
                   Master Ballot will not be counted for purposes of voting on the Plan.

            ii.    The Voting Agent will date and stamp all Ballots and Master Ballots when
                   received. In addition, the Voting Agent will retain a copy of such Ballots
                   and Master Ballots for a period of one (1) year after the Effective Date of
                   the Plan, unless otherwise instructed by the Debtors, in writing, or
                   otherwise ordered by the Bankruptcy Court.

10.   Tabulation of Ballots - Determination of Amount of Claims and Equity Interests
      Voted:

      a.    Asbestos PI Claims: The amount of Asbestos PI Claims for purposes of voting
            to accept or reject the Plan shall be calculated as provided in Section 3(b) of these
            Voting Procedures.

      b.    Asbestos PD Claims:

            i.     Class 7A Asbestos PD Claims: The Debtors are soliciting the votes of
                   Holders of Class 7A Asbestos PD Claims solely to the extent required by
                   section 524(g) of the Bankruptcy Code. Each Class 7A Asbestos PD
                   Claim that (A) has been filed with the Bankruptcy Court on or before the
                   March 2003 Bar Date and (B) has not been withdrawn by the Holder or
                   disallowed or expunged by order of the Bankruptcy Court entered on or
                   before the Voting Record Date, shall be entitled to one vote for purposes
                   of acceptance or rejection of the Plan under section 524(g) of the
                   Bankruptcy Code.

            ii.    Class 7B Asbestos PD Claims: The Debtors are soliciting the votes of
                   Holders of Class 7B Asbestos PD Claims for purposes of both section
                   524(g) and 1126 of the Bankruptcy Code. Each Class 7B Asbestos PD
                   Claim that (A) has been filed with the Bankruptcy Court on or before the
                   US ZAI Bar Date and (B) has not been withdrawn by the Holder or
                   disallowed or expunged by order of the Bankruptcy Court entered on or
                   before the Voting Record Date, shall be entitled to one vote for purposes
                   of acceptance or rejection of the Plan under section 524(g) of the
                   Bankruptcy Code. In addition, each Holder of a Class 7B Asbestos PD
                   Claim shall be entitled to one vote in the amount of $1.00 on account of its
                   Claim for purposes of section 1126 of the Bankruptcy Code, which does
                   not constitute an allowance of such Claim for purposes of distribution and



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             is without prejudice to the rights of the Holder of such Claim, the Asbestos
             PD Trust, the Debtors, or the Reorganized Debtors in any other context.

      iii.   US ZAI Class Representatives: For purpose of both sections 524(g) and
             1126 of the Bankruptcy Code, the US ZAI Class Representatives shall be
             entitled to vote the US ZAI PD Claims of all of the members of the US
             ZAI Rule 23 Class who do not individually vote to accept or reject the
             Plan.

      iv.    Tabulation for Purposes of Sections 524(g) and 1126 of the Bankruptcy
             Code: The Debtors shall add the votes from Holders of Asbestos PD
             Claims in Class 7A and Class 7B together for purposes of determining
             acceptance or rejection of the Plan by Class 7 pursuant to section 524(g)
             of the Bankruptcy Code. The Debtors shall tabulate the votes of the
             Holders of Class 7B Asbestos PD Claims separately for purposes of
             determining acceptance or rejection of the Plan by Class 7B pursuant to
             section 1126(c) of the Bankruptcy Code.

c.    Equity Interests: Each registered holder or beneficial owner of Parent Common
      Stock is entitled to a vote equal to the number of the registered holder’s or
      beneficial owner’s shares of Parent Common Stock as of the Voting Record Date.
      With respect to the tabulation of Ballots and Master Ballots for Equity Interests in
      the Parent, for purposes of voting, the amount to be used to tabulate acceptance or
      rejection of the Plan is as follows (in order of priority):

      i.     Votes cast by beneficial owners holding Parent Common Stock through a
             Nominee will be applied against the positions held by such entities as of
             the Voting Record Date, as evidenced by the record and depository
             listings. Votes submitted by a Nominee, whether pursuant to a Master
             Ballot or prevalidated Ballots, will not be counted in excess of the Record
             Amount of Parent Common Stock held by such Nominee.

      ii.    To the extent that conflicting votes or “overvotes” are submitted by a
             Nominee, whether pursuant to a Master Ballot or prevalidated Ballots, the
             Voting Agent will attempt to resolve the conflict or overvote prior to the
             preparation of the vote certification.

      iii.   To the extent that overvotes on a Master Ballot or on prevalidated Ballots
             are not reconcilable prior to the preparation of the vote certification, the
             Voting Agent will apply the votes to accept and to reject the Plan in the
             same proportion as the votes to accept and reject the Plan submitted on the
             Master Ballot or prevalidated Ballots that contained the overvote, but only
             to the extent of the Nominee’s position in Parent Common Stock.

      iv.    Multiple Master Ballots may be completed by a single Nominee and
             delivered to the Voting Agent. Votes reflected by multiple Master Ballots
             will be counted, except to the extent that they are duplicative of other

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             Master Ballots. If two or more Master Ballots are inconsistent, the latest
             otherwise valid Master Ballot received prior to the Voting Deadline will,
             to the extent of any such inconsistency, supersede and revoke any prior
             Master Ballot.

      v.     For purposes of tabulating votes, each registered holder or beneficial
             holder of Parent Common Stock will be deemed to have voted the full
             amount of its holdings relating to Parent Common Stock.

d.    Canadian ZAI PD Claims: The aggregate value of Class 8 CDN ZAI PD
      Claims for voting purposes will be $6,500,000, which represents the payment to
      the CDN ZAI PD Claims Fund pursuant to the CDN ZAI Minutes of Settlement.

e.    General Unsecured Claims: If it is determined that Class 9 General Unsecured
      Claims is impaired pursuant to section 1124 of the Bankruptcy Code, then the
      amount to be used to tabulate acceptance or rejection of the Plan will be as
      follows (in order of priority):

      i.     If (A) prior to the Voting Deadline, a Claim has been allowed fully or
             partially, whether for all purposes or for voting purposes only, pursuant to
             a Bankruptcy Court order or Bankruptcy Court-approved procedures, (B)
             prior to the Voting Deadline, the Debtors and the Holder of a Claim File a
             stipulation agreeing to fully or partially allow such Claim for voting
             purposes only and no objection to such allowance is received by the
             Debtors within seven (7) calendar days after service by first-class mail of
             notice of such agreement to the parties upon whom notice is required, or
             (C) after the Voting Deadline, the Bankruptcy Court enters an order
             allowing a Claim for voting purposes only in response to a timely Filed
             Voting Motion, the amount allowed thereunder.

      ii.    The liquidated amount specified in a proof of claim timely Filed in
             accordance with the March 2003 Bar Date Order, so long as such Claim
             has not been disallowed or expunged by the Bankruptcy Court and is not
             the subject of an objection pending as of the Voting Record Date;
             provided, however, that the Holders of Claims arising from the Pre-
             petition Credit Facilities shall be entitled to vote such Claims, subject to
             the limitation in Section 10(e)(vi) below, notwithstanding the pending
             objection to post-petition interest payable in relation to such Claims.

      iii.   The amount of the Claim listed in the Schedules as liquidated, undisputed,
             and noncontingent.

      iv.    If a Claim is recorded in the Schedules or on a proof of claim as
             unliquidated, contingent, and/or disputed only in part, the Holder of the
             Claim shall be entitled to vote that portion of the Claim that is liquidated,
             noncontingent, and undisputed in the liquidated, noncontingent, and



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            undisputed amount, subject to any limitations set forth herein and unless
            otherwise ordered by the Bankruptcy Court.

      v.    If a proof of claim has been timely filed in accordance with the March
            2003 Bar Date Order and such Claim is wholly unliquidated or contingent,
            the Claim amount, for voting purposes only, shall be $1.00, so long as
            such Claim has not been disallowed or expunged by the Bankruptcy Court
            and is not the subject of an objection pending as of the Voting Record
            Date.

      vi.   With respect to (i) through (v) above, any amount of post-petition interest
            that may be payable with respect to a Claim under the Plan shall not be
            included for purposes of tabulating votes to accept or reject the Plan.

f.    Voting Motions and Classification Objections.

      i.    Any Holder of a Claim who seeks to challenge the amount of its Claim for
            voting purposes may file a motion for an order pursuant to Bankruptcy
            Rule 3018(a) temporarily allowing such Claim in an amount requested for
            purposes of voting (a “Voting Motion”).

            (A)     A Voting Motion must be filed on or before the Voting Deadline.

            (B)     A Voting Motion must be accompanied by a declaration by an
                    appropriate representative of the moving party that (I) attaches a
                    completed Ballot indicating how such party intends to vote on the
                    Plan, (II) certifies the proposed voting amount of the applicable
                    Claim, and (III) attaches any evidence in support of the proposed
                    voting amount of such Claim.

            (C)     As to any Holder of a Claim who Files a Voting Motion, such
                    Holder’s vote shall not be counted other than as provided in these
                    Voting Procedures unless temporarily allowed by the Bankruptcy
                    Court for voting purposes, after notice and a hearing. The hearing
                    on a timely Filed Voting Motion may take place after the Voting
                    Deadline.

            (D)     A Holder of a Claim who timely Files a Voting Motion with a
                    properly completed declaration as required above does not need to
                    submit a Ballot to the Voting Agent.

      ii.   Any Holder of a Claim who intends to pursue an objection to confirmation
            of the Plan on the grounds that such Holder’s Claim is not properly
            classified may request a Ballot from the Voting Agent for provisional
            voting under a different Class and may vote to accept or reject the Plan
            pursuant to the following procedures:



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                    (A)     The objecting Claimant must File a declaration with the
                            Bankruptcy Court (a “Disputed Classification Declaration”) on
                            or before the Voting Deadline, which attaches (I) the Claimant’s
                            completed original Ballot indicating the Claimant’s vote if the
                            Debtors’ classification of the Claim at issue is upheld and (II) the
                            Claimant’s completed provisional Ballot indicating the Claimant’s
                            vote if it prevails on its classification objection.

                    (B)     The Disputed Classification Declaration also must summarize the
                            basis for the Claimant’s classification objection.

                    (C)     If the objecting Claimant also disputes the amount of its Claim for
                            voting purposes, the Claimant must File a Voting Motion pursuant
                            to Section 10(f)(i) of these Voting Procedures in addition to Filing
                            a Disputed Classification Declaration.

                    (D)     Unless otherwise ordered by the Bankruptcy Court, the Debtors
                            shall report to the Bankruptcy Court in connection with the
                            Confirmation Hearing the tabulation of votes for all Claims for
                            which a Disputed Classification Declaration has been Filed using
                            both (I) the original classification of the Claims that are subject to
                            Disputed Classification Declarations and (II) a provisional
                            classification reflecting the requests in the Disputed Classification
                            Declarations.

                    (E)     A Claimant who Files a Disputed Classification Declaration must
                            File its objection to the Plan and its classification of such
                            Claimant’s Claims on or before the Plan Objection Deadline.

11.   Tabulation of Votes -- Ballots Excluded:

      A Ballot or Master Ballot will not be counted if any of the following, without limitation,
      applies to such Ballot or Master Ballot:

      a.     The Holder submitting the Ballot or Master Ballot is not entitled to vote pursuant
             to Sections 9(a) and (b) hereof.

      b.     The Ballot or Master Ballot is not actually received by the Voting Agent in the
             manner set forth in Sections 9(d) and (e) hereof by the Voting Deadline.

      c.     The Ballot or Master Ballot is returned to the Voting Agent indicating acceptance
             or rejection of the Plan but is unsigned.

      d.     The Ballot or Master Ballot is received after the Voting Deadline, regardless of
             when it is postmarked.

      e.     The Ballot or Master Ballot is illegible or contains insufficient information to
             permit the identification of the Claimant or Equity Interest Holder.

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      f.     The Ballot or Master Ballot is transmitted to the Voting Agent by facsimile or
             other electronic means.

      g.     The Ballot or Master Ballot is submitted in a form that is not appropriate for such
             Claim or Equity Interest.

      h.     The Ballot or Master Ballot is not completed and/or lacks an original signature.

12.   Tabulation of Votes -- General Voting Procedures and Standard Assumptions:

      In addition to the foregoing, the following voting procedures and standard assumptions
      will be used in tabulating Ballots and Master Ballots:

      a.     A Creditor or Equity Interest Holder may not split his, her, or its vote with respect
             to each of its Claims or Equity Interests. Accordingly, (i) each Creditor or Equity
             Interest Holder shall have a vote within a particular class for each Claim or Equity
             Interest held by such Holder as of the Voting Record Date, (ii) the full amount of
             such Holder’s Claim or Equity Interest (calculated in accordance with these
             procedures) within a particular class shall be deemed to have been voted either to
             accept or reject a Plan, and (iii) any Ballot submitted by or on behalf of a
             particular Claim or Equity Interest that partially rejects and partially accepts the
             Plan shall not be counted.

      b.     The Voting Agent, in its discretion, may contact voters to cure any defects in a
             Ballot or Master Ballot.

      c.     Subject to Section 12(d) hereof, if multiple Ballots or Master Ballots are received
             on or prior to the Voting Deadline on account of the same Claim or Equity
             Interest, in the absence of contrary information establishing which Holder held
             such Claim or Equity Interest as of the Voting Record Date, the last valid Ballot
             or Master Ballot that is received by the Voting Agent prior to the Voting Deadline
             will be the Ballot or Master Ballot that is counted. In the event multiple
             conflicting Ballots or Master Ballots are received on account of the same claim or
             interest on the same day, such Ballots or Master Ballots will be disregarded.

      d.     If multiple Ballots are received prior to the Voting Deadline from a Holder of a
             Claim or Equity Interest and someone purporting to be his, her, or its attorney or
             agent, the Ballot received from the Holder of the Claim or Equity Interest will be
             the Ballot that is counted, and the vote of the purported attorney or agent will not
             be counted.

      e.     There shall be a rebuttable presumption that any Holder of a Claim or Equity
             Interest who submits a properly completed superseding Ballot on or before the
             Voting Deadline has sufficient cause, within the meaning of Bankruptcy Rule
             3018(a), to change or withdraw such Holder’s acceptance or rejection of the Plan.




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          f.      A Ballot that is completed, but on which the Claimant or Equity Interest Holder
                  did not note whether to accept or reject the Plan, shall not be counted as a vote to
                  accept or reject the Plan.

          g.      Separate proofs of claim filed against multiple Debtors on account of the same
                  underlying debt obligation shall be deemed, collectively, to be one Claim for
                  voting purposes.

          h.      Single proofs of claim filed against multiple Debtors (e.g., proofs of claim filed
                  against “W. R. Grace & Co., et al.”) shall be deemed to be one Claim for voting
                  purposes.

          i.      Where a Holder of a Claim or Equity Interest chooses to both accept and reject
                  the Plan on the same Ballot, such Ballot shall not be counted as a vote to accept or
                  reject the Plan.

13.       Definitions:

          a.      “Administrative Agent” means JPMorgan Chase Bank in its capacity as
                  administrative agent under each of the Pre-petition Credit Facilities.

          b.      “Bankruptcy Court” means the United States Bankruptcy Court for the District
                  of Delaware.

          c.      “Class 7A Asbestos PD Claims” means all Asbestos PD Claims other than US
                  ZAI PD Claims.

          d.      “Class 7B Asbestos PD Claims” means all US ZAI PD Claims.

          e.      “Confirmation Hearing” means the hearing on the confirmation of the Plan, as
                  such hearing may be adjourned from time to time.

          f.      “Confirmation Hearing Notice” means a notice of, inter alia, (i) approval of the
                  Disclosure Statement and scheduling of the Confirmation Hearing, and (ii) the
                  deadlines for voting on, and filing objections to confirmation of, the Plan, in
                  substantially the form approved by the Bankruptcy Court in the Confirmation
                  Procedures Order.

          g.      “Disclosure Statement” means the disclosure statement in connection with the
                  Plan, as approved by the Bankruptcy Court in the Disclosure Statement Order.

          h.      “Disclosure Statement Order” means the order of the Bankruptcy Court
                  approving the adequacy of the Disclosure Statement.2


2     The Bankruptcy Court has approved the Disclosure Statement as part of the Confirmation Procedures Order,
      rather than by separate order. As a result, references to the Disclosure Statement Order shall mean the
      Confirmation Procedures Order.


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i.    “Disputed Classification Declaration” shall have the meaning set forth in
      Section 10(f) hereof.

j.    “Lenders” means the lenders under each of the Pre-petition Credit Facilities.

k.    “March 2003 Bar Date” means the bar date set by order of the Bankruptcy Court
      fixing March 31, 2003 as the deadline for filing certain proofs of claim, including
      Indirect PI Trust Claims, against the Debtors’ estates.

l.    “Master Ballot” means a Ballot (i) filed on behalf of one or more Holders of
      Asbestos PI Claims or Asbestos PD Claims in accordance with the procedures set
      forth in Sections 3 or 5 of these Voting Procedures or (ii) filed on behalf of one or
      more beneficial owners of Parent Common Stock in accordance with the
      procedures set forth in Section 4 of these Voting Procedures.

m.    “Nominees” means institutional Holders of record of Equity Interests who hold
      Equity Interests in “street name” on behalf of beneficial owners or the agents or
      intermediaries of such Holders who otherwise represent such beneficial owners.

n.    “Notice of Non-Voting Claim Status” means a notice to be sent to (i) Holders of
      Class 9 General Unsecured Claims that are subject to an objection pending as of
      the Voting Record Date, (ii) Holders of Class 7A Asbestos PD Claims that were
      not filed on or before the March 2003 Bar Date unless such claims have already
      been expunged or disallowed by order of the Bankruptcy Court entered on or
      before the Voting Record Date, and (iii) Holders of Class 7B Asbestos PD Claims
      that were not filed on or before the US ZAI Bar Date unless such claims have
      already been expunged or disallowed by order of the Bankruptcy Court entered on
      or before the Voting Record Date, in each case in the form approved by the
      Bankruptcy Court in the Confirmation Procedures Order.

o.    “Notice of Non-Voting Class Status” means a notice to be sent to Holders of
      Claims represented by proofs of claim Filed with the Bankruptcy Court that the
      Debtors have determined are within the unimpaired Classes of Claims who are not
      entitled to vote to accept or reject the Plan in the form approved by the
      Bankruptcy Court in the Confirmation Procedures Order.

p.    “Notice to Counterparties to Executory Contracts and Unexpired Leases”
      means a notice to be sent to counterparties to executory contracts and unexpired
      leases describing the treatment of executory contracts and unexpired leases under
      the Plan substantially in the form approved by the Bankruptcy Court in the
      Confirmation Procedures Order.

q.    “Plan Objection Deadline” means 4:00 p.m. (EDT) on May 20, 2009, as the date
      established by the Bankruptcy Court to be the deadline for the filing of objections
      to confirmation of the Plan as provided in the Second Amended Case Management
      Order Related to the First Amended Joint Plan of Reorganization entered by the
      Bankruptcy Court on January 29, 2009.


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r.    “Publication Notice” means a published notice of (i) approval of the Disclosure
      Statement and scheduling of the Confirmation Hearing, (ii) the deadlines for
      voting on, and filing objections to confirmation of, the Plan, and (iii) the
      procedures for Holders of Claims or Interests to obtain a Solicitation Package,
      substantially in the form approved by the Bankruptcy Court in the Confirmation
      Procedures Order.

s.    “Record Amount” means the amount shown on the records of the Nominees (as
      confirmed by record and depository listings) as of the Voting Record Date.

t.    “Solicitation Date” means the date specified in Section 2(b) of these Voting
      Procedures.

u.    “Solicitation Package” means, and will consist of, all of the following:

      i.      Confirmation Hearing Notice.

      ii.     Disclosure Statement Order (without exhibits).

      iii.    Disclosure Statement.

      iv.     Exhibit Book (with the Plan attached as an Exhibit therein).

      v.      The Voting Procedures.

      vi.     One or more applicable Ballots and/or Master Ballots, together with
              voting instructions and information relative to the return of the Ballots or
              Master Ballots.

      vii.    Pre-addressed return envelope(s).

      viii.   Any other materials ordered by the Court to be included.

v.    “Transfer Agent” means the transfer agent for the Parent Common Stock.

w.    “US ZAI Bar Date” means the bar date set by order of the Bankruptcy Court
      fixing October 31, 2008 as the deadline for filing proofs of claim relating to US
      ZAI PD Claims against the Debtors’ estates.

x.    “US ZAI Class Certification Order” means the order of the Bankruptcy Court
      dated January 16, 2009 provisionally certifying the US ZAI Rule 23 Class and
      approving the US ZAI Class Representatives and the US ZAI Class Counsel.

y.    “US ZAI Class Counsel” means Edward J. Westbrook, Esq., Darrell W. Scott,
      Esq., and Elizabeth Cabraser, Esq. as counsel to the US ZAI Rule 23 Class as
      approved pursuant to the US ZAI Class Certification Order.




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z.    “US ZAI Class Representatives” means Marco Barbanti and Ralph Busch as the
      representatives of the US ZAI Rule 23 Class appointed pursuant to the US ZAI
      Class Certification Order.

aa.   “US ZAI Rule 23 Class” means the class comprised of all Holders of US ZAI
      PD Claims that were filed on or before the US ZAI Bar Date, except the United
      States in relation to is US ZAI PD Claims filed on behalf of the United States
      Forest Service, as provisionally certified by the US ZAI Class Certification Order
      in accordance with Rule 23 of the Federal Rules of Civil Procedures.

bb.   “Voting Agent” means BMC Group, Inc.

cc.   “Voting Deadline” means 4:00 p.m. (EDT) on May 20, 2009, as the date
      established by the Bankruptcy Court to be the deadline for the Voting Agent to
      receive Ballots and Master Ballots on the Plan.

dd.   “Voting Motion” shall have the meaning set forth in Section 10(f) hereof.

ee.   “Voting Record Date” means March 11, 2009, the date that is two (2) Business
      Days after the entry of the Disclosure Statement Order.




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